        Case 2:09-cr-00196-KJM Document 72 Filed 01/27/12 Page 1 of 2
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 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          )   No. CR-S-09-196 GEB
                                                        )
10                      Plaintiff,                      )
                                                        )   STIPULATION AND ORDER
11         vs.                                          )   CONTINUING STATUS
                                                        )   HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                    )
                                                        )
13                      Defendant.                      )
                                                        )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record, MICHAEL

17   BECKW ITH, stipulate and agree to the following:

18         1. The presently scheduled date of January 27, 2012 for Status Hearing shall

19         be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for March 16, 2012 at 9:00 a.m..

21         2. Defense investigation is nearing completion and, thereafter, further

22         settlement negotiations will be conducted. Accordingly, the parties stipulate

23         that time be excluded from January 20, 2012 to March 16, 2012 pursuant to

24         18 U.S. C. §3161(h)(7)(A) and 18 U.S.C. §3161(h)(8)(B)(iv) [Local Code T4]

25         –additional time to adequately prepare for pretrial proceedings. The parties

26         further stipulate that the interests of justice outweigh the defendant’s and the

27         public’s interest in a speedy trial.

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         Case 2:09-cr-00196-KJM Document 72 Filed 01/27/12 Page 2 of 2
 1         IT IS SO STIPULATED.

 2   Dated:   January 26, 2012                 /s/ MICHAEL BECKWITH
 3                                            Assistant U.S. Attorney
                                              for the Government
 4

 5
     Dated: January 26, 2012                  /s/ PETER KMETO
 6
                                              Attorney for Defendant
 7                                            MICHAEL LEON W ILLIAMS

 8

 9
                                              ORDER
10
                  UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
11
     it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,
12
     only, be continued as set forth above.
13

14                The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A),

15   18 U.S.C. §3161(h)(8)(B)(iv) and Local Rule T-4 from January 20, 2012 until March

16   16, 2012 for continuity of defense counsel and time to permit defense counsel to

17   prepare and properly advise his client. The Court further finds that the interests of

18   justice outweigh the defendant’s and the public’s interest in a speedy trial.

19
     Dated: January 26, 2012
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22                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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